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UNITED sTATEs DISTRICT COUR w 03
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EDMOND L. LINDSEY, ET AL o
Appellant, § m §
z C_.
253 __ c:
v 04-2220 D c»;,;§ § 3
MEMPHIs-sHELBY COUNTY .4_,§?" -u
AIRPORT AUTHoRITY, ET AL §§ m
Appellee § m 9
m 9

 

MOTION TO FILE CORRECTED ORDER OF EXHIBITS TO MEMORANDUM
DATED ON OR ABOUT 4/24/05

 

Come now Appellant, Edmond Lindsey, Pro se and request permission to file
a Motion to correct the of exhibits to The Memorandum filed on or about 4/24/05.
Wherefore Appellant pray that this Honorabie Court will grant Appellant

permission to file a Corrected order of Exhibits to said Memorandum.

Respectfully Submitted \

Edmond L. Lindsey, Pro se

“ P.o. Box 30683
MoTloN, g§Al¢N$;}r°E-*D Memphis, TN 38130
* ”ATE= (901) 346-1911

BERN|CE BOU|E DONALD
U.S. DlSTRlCT JUDGE

This document entered on the docket sheet |n compliance
with ama 58 and/or re(a; FRCP on 12'1'05) l

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CERTIFICATE OF SERVICE

l Edmond L. Lindsey do hereby certify that I have mailed postage prepaid a true
and correct copy of the foregoing corrected order of Exhibits to Memorandum dated on
or about 4/24/05, R. Grattan Brown, 1700 One Commerce Square, Memphis, TN 38103,

this li day of junJE“, 2005.
Edmond L. Lindsey, Pro Se 6

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CV-02220 Was distributed by faX, mail, or direct printing on
July l, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

